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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                            Case No. 96 CR 407
            v.
                                            Honorable Charles R. Norgle
MIGUEL TORRES


                         APPEARANCE OF COUNSEL


      Please take notice that Assistant United States Attorney John D. Mitchell is
assigned to this case.


                                            Respectfully Submitted,

                                            JOHN R. LAUSCH, JR.
                                            United States Attorney

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Dated: May 9, 2022
